Case 2:16-cv-00450-JRG Document 120 Filed 10/05/16 Page 1 of 2 PageID #: 1039




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:16-cv-00450-RWS
                                    §
      vs.                           §               LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:16-cv-00594-RWS
                                    §
      vs.                           §               CONSOLIDATED CASE
                                    §
AT&T MOBILITY LLC et al             §
                                    §
      Defendant.                    §
___________________________________ §

   UNOPPOSED MOTION TO DISMISS AT&T DEFENDANTS WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Symbology
Innovations, LLC (“Symbology”) files this Unopposed Motion to Dismiss Defendants AT&T
Mobility LLC and AT&T Services, Inc. (“AT&T Defendants”) With Prejudice.


       Wherefore, Symbology moves this Court to dismiss this action and all claims filed by
Symbology against AT&T with prejudice, with each party to bear its own costs, attorney’s fees,
and expenses, and further requests that the Court enter the proposed order of dismissal submitted
herewith.
Case 2:16-cv-00450-JRG Document 120 Filed 10/05/16 Page 2 of 2 PageID #: 1040




Dated: October 5, 2016                      Respectfully submitted,
                                            /s/ Jay Johnson
                                            JAY JOHNSON
                                            State Bar No. 24067322
                                            BRAD KIZZIA
                                            State Bar No. 11547550
                                            KIZZIA JOHNSON PLLC
                                            1910 Pacific Ave.
                                            Suite 13000
                                            Dallas, TX 75201
                                            (214) 451-0164
                                            Fax: (214) 451-0165
                                            jay@kjpllc.com
                                            bkizzia@kjpllc.com

                                            ATTORNEYS FOR PLAINTIFF


                            CERTIFICATE OF CONFERENCE

The undersigned certifies that on October 4, 2016, he met and conferred with counsel for
Defendant concerning this motion and that Defendant’s counsel agreed to the motion.

                                            /s/ Jay Johnson
                                            Jay Johnson

                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on October 5, 2016.

                                            /s/ Jay Johnson
                                            Jay Johnson
